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                                    Commentary
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                                    Grooming and                                                                                              © The Author(s) 2017
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                                    Abstract
                                    Ken Lanning’s recollections of the origins of the use of the term “grooming”
                                    to refer to techniques used by acquaintances to gain sexual access to and
                                    control over children is an important contribution to the history of the
                                    significant recognition that many cases of child sexual abuse occur at the
                                    hands of offenders who are acquaintances of the child and who do not need
                                    to use force, threats, or violence to gain the compliance of their victims.
                                    That this recognition was slow in coming is obvious in retrospect, as is true
                                    of any social problem that remains hidden for centuries only to burst into
                                    public consciousness over the course of a few years. In this article, I report
                                    the results of searches using Google Scholar to look at the introduction of
                                    this use of the term “grooming” to the peer-reviewed literature in 1984 and
                                    its increasing use through 2016. Since 2008, the usage has been adopted
                                    in hundreds of articles in the professional literature each year, suggesting
                                    that this usage of the term “grooming” will remain common in the decades
                                    ahead. I also examine the history of the term “seduction” in the context of
                                    child sexual abuse, particularly two archaic uses of the term: as a euphemism
                                    for any sexual or sexually stimulating encounter between child and adult and
                                    in the context of suggestions that it was the child who seduced the adult.
                                    To avoid resurrecting any confusion over these issues, it would be a mistake
                                    to abandon “grooming” in favor of “seduction.” I conclude that the best
                                    strategy may be that adopted by Lanning of using the terms grooming and
                                    seduction in tandem, explaining the parallels between the seduction of one
                                    adult by another and the grooming or seduction of a child by an adult.


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       Keywords
       grooming, seduction, child sexual abuse, acquaintance molestation, litigation


       Grooming and Seduction
       In the development of knowledge of child sexual abuse, few discoveries
       could outweigh the importance of recognizing that a large proportion of
       offenses are committed by acquaintances of the child using techniques other
       than force or threat of force. No individual has done more to share this insight
       with the international law enforcement community than Ken Lanning, whose
       writings and teachings have also reached mental health professionals, those
       who work in the criminal justice and social service systems, those who care
       for the nation’s children, and countless concerned citizens and parents.
           The application of the terms “seduction” or “grooming” to these nonforce-
       ful, nonthreatening, and nonviolent techniques has been in the service of dis-
       seminating this important insight, which first burst into public consciousness
       as a real possibility in the mid-1980s as a result of partially untrue media
       reports about the McMartin School case and the case of Father Gilbert Gauthe,
       both of which stories first broke in 1984. Yet even today, far too many people,
       including many who should know better, have difficulty grasping the possibil-
       ity of nonforceful, nonthreatening, and nonviolent acquaintance molestation,
       as their preconceptions of childhood innocence and predatory molesters are
       too strong to allow them to accept that children can be so readily manipulated
       into doing or allowing things that others find abhorrent.


       Grooming
       Lanning (2018) is precisely correct in dating to the 1980s the use of the term
       “grooming” to refer to techniques for gaining sexual access to children and in
       his observation that during the 1980s, this usage gradually increased. Using
       the search capabilities of Google Scholar, I found no use of the word “groom-
       ing” to mean such techniques in conjunction with the terms “child sexual
       abuse,” “child molestation,” or “child molester” in the professional literature
       from 1850 through 1983. The first publication identified by Google Scholar
       as using the term “grooming” in this way was an article by Conte (1984) cit-
       ing Groth and Birnbaum (1979) for the proposition that “[i]n most cases,
       except those involving abuse by a stranger, the perpetrator involves children
       in sexual abuse through a grooming process in which a combination of kind-
       ness, attention, material enticement, special privilege, and coercion are
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      Figure 1. Use of the term “grooming” in association with “child sexual abuse” in
      the professional literature accessed by Google Scholar, 1984-2016, as of 25 August,
      2017.


      expertly applied” (p. 558). Groth and Birnbaum accurately describe the pro-
      cess (at p. 142-143), but do not use the term “grooming.”
         Figure 1 shows how the maximum number of publications in the database
      using the term “grooming” for this meaning1 has increased since 1984. For
      the remainder of the 1980s, zero to nine publications per year used “groom-
      ing” for this meaning. From 1990-1999, the annual frequency rose from eight
      to 63, and from 2000 to 2009, from 64 to 227. From 2010 to 2016, the annual
      frequency rose from 282 to 533.
         My own recollection of the growing use of the term “grooming” in this
      context during the 1980s and 1990s is that it spread not only through peer-
      reviewed literature and books, but also though the teaching and training being
      conducted by Ken Lanning, Ann Burgess, and other thought leaders of the era,
      and that it was gradually adopted by journalists and the general public as well.
      As the term came to be widely applied, it became increasingly obvious that
      offenders who groom children often groom the parents of those children, the
      organizations through which they work or volunteer with children, and the
      communities in which they function. The success of these offenders in doing
      so makes it all the more difficult for observers to overcome the false belief that
      such a “nice guy” could not be harming children (Lanning & Dietz, 2014).
         Lanning (2018) points to some of the ways in which the term “grooming”
      has been misapplied (e.g., to refer to the use of “lures” in stranger cases or
      what might be expected parental behaviors in intrafamilial cases) but does
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       not mention the misuse of the term in civil litigation. Where a victim is suing
       an employer or organization in connection with the sexual abuse of a minor
       by an employee or volunteer, it has become commonplace for the victim’s
       advocate to argue that the failure to detect “grooming” was negligent on the
       part of the employer or organization. If their use of the term “grooming”
       always encompassed excessive focus on a particular child, time alone with
       the child, or inappropriate touching, this usage might not be problematic, but
       when “grooming” is applied to such common and desirable behaviors as
       being kind or attentive or helpful or caring, there is considerable risk of mis-
       leading the fact finder into believing that these latter behaviors are well-
       established predictors of child sexual abuse when there is no evidence
       whatsoever that they can help discriminate between good employees and vol-
       unteers, on the one hand, and risky employees and volunteers, on the other
       hand. In the litigation context, efforts to expand the concept of “grooming” to
       encompass desirable behaviors that are not associated with elevated risk is
       misleading, particularly when coupled with the presumption or suggestion
       that “grooming” always reflects an intent or plan to offend or, worse, that an
       offense can be proved by the fact that the accused engaged in “grooming.”


       Seduction
       Although I agree with Lanning (2018) that the term “seduction” is preferable
       to the term “grooming,” at least when there is an opportunity to explain how
       similar the seduction of a child is to the seduction of an age-appropriate part-
       ner, there is ample historical reason to be cautious about the use of the term
       “seduction” in this context without further explanation. This is because of
       two archaic usages of “seduction” in the older literature.

       Archaic Usage #1: Seduction as a Euphemism for the Offense
       One of the archaic usages of “seduction,” found often in the older scientific
       literature, is as a vague euphemism for any occurrence of child sexual abuse
       or an event that may have been sexually simulating to the child, as in these
       passages:

          •• “[A] shock of some kind is held responsible for the neurosis—an
             attack by an animal, a threat of castration, a seduction, an actual view-
             ing of parental coitus . . .” (Isaacs, 1928, p. 193).
          •• “. . . I wondered whether the precocity of these fantasies and their
             frequency might not be due to actual seduction that the child had expe-
             rienced . . .” (Rank, 1942, p. 56).
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           •• “. . . It was expected that a connection would be found between the
              child’s symptom and the seduction, which was assumed to be the trau-
              matic factor . . .” (Bornstein, 1946, p. 230).
           •• “. . . [W]here father or mother, either consciously or unconsciously,
              elevate the child into a substitute sexual partner or commit real acts of
              seduction with him . . .” (A. Freud, 1968, p. 45).
           •• “If we assume that the term ‘seduction’ refers to any kind of sexual
              encounter, it can range from milder types, such as exposing oneself
              and enticing the child to follow suit, all the way to forcible rape”
              (Finch, 1974, p. 34).
           •• “She was then able to use the dolls to reveal the drama of her own
              seduction and the ensuing family chaos . . .” (Mrazek, 1980, p. 279).

         Here “seduction” is not referring to the process by which a child is
      groomed or seduced but to the offensive event itself. Freud’s seduction
      hypothesis “. . . generalized that the roots of all adult neuroses lay in child-
      hood sexual contacts with adults” (Gagnon, 1965, p. 177). The vagueness of
      this use of “seduction” makes it impossible to determine which child sexual
      abuse behaviors are and are not encompassed by the term and suggests that
      “seduction” may mean different specific things to different authors.
         Authors sometimes imply that “seduction” does not include violence, as when
      they distinguish it from rape or other violent assaults, as in these examples:

           •• “Klein has stated that an experience of seduction or rape by a grown-
              up person may have serious effects upon the child’s psychic develop-
              ment . . .” (Bender & Blau, 1937, p. 500).
           •• “[T]he possible . . . event of seduction, incest, or rape . . .” (Lewis &
              Sarrel, 1969, p. 606).
           •• “Violence is rarely found to accompany the incestuous act, possibly
              because seduction, passive compliance, or sexual curiosity or explora-
              tion promote such relationships” (Singer, 1979, p. 8).
           •• “Children can be broken much more easily than adults, and the effect
              on them of torture, hatred, seduction, and rape—or even of indiffer-
              ence, of deprivation of love and care—is the devastating one of devel-
              opmental arrest . . .” (Shengold, 1979, p. 537).

         Although this usage comports with the modern idea of seduction or
      grooming insofar as it is to be distinguished from the use of force, threats, or
      violence, we would not today distinguish seduction from rape but rather
      would view seduction (or grooming) as a means of completing a rape or other
      sexual offense with minimal resistance or risk of disclosure.
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           Cioffi (1976) interpreted Freud as using the concept of seduction to refer
       only to nonviolent sexual assaults, writing “. . . he duly reported that he had
       discovered the specific cause of psychoneurotic disorder: A passive sexual expe-
       rience before puberty. In other words, a seduction” (p. 275). Cioffi’s (1976) quo-
       tations of Freud in the same article support this interpretation: “Freud later
       assigned to his patients in phrases like: ‘hysterics trace back their symptoms to
       fictitious traumas’—or patients ‘ascribe their symptoms to passive sexual expe-
       riences in early childhood’” (p. 277). Even here, however, what constitutes a
       “passive sexual experience” is unclear, as it could mean the offender did not use
       violence, that the child did not resist, or that the child was not an active
       participant.


       Archaic Usage #2: The Child as Seducer
       A second archaic usage of “seduction” is to refer to the child’s tempting of the
       offender. This is diametrically opposed to our current thinking about child sexual
       abuse in its suggestion that it is the child who is at fault, as in these examples:

          •• “. . . [A] most striking feature was that these children were distin-
             guished as unusually charming and attractive in their outward person-
             alities. Thus, it is not remarkable that frequently we considered the
             possibility that the child might have been the actual seducer rather
             than the one innocently seduced” (Bender & Blau, 1937, p. 514).
          •• “The majority of pedophiles are harmless individuals and their victims
             are usually known to be aggressive and seductive children” (Revitch
             & Weiss, 1962, p. 78).
          •• “In many [cases] it was highly probable that the child had used his
             charm in the role of seducer rather than that he had been the innocent
             one who had been seduced . . .” (Bender & Grugett, 1952, p. 826).
          •• “Abraham (1907) and Bender and Blau (1937) have commented on
             how charming and seductive these children can be” (Rosenfeld,
             Nadelson, Krieger, & Backman, 1977, p. 332).

       Three examples of authors attempting to remedy this archaic view are as
       follows:

          •• “. . . Although there may be a different quality to a seduction than to an
             attack, it must be remembered that even a seductive child cannot have
             full adult comprehension of the act she is courting and cannot be
             viewed as responsible in this area” (Lipton & Roth, 1969, p. 859).
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          “Because the affectional needs of the child are not adequately met by the
      parents, the child may indiscriminately relate to adults in an affection-seek-
      ing manner in an effort to ensure her emotional survival.
          Numerous other investigators have characterized this behavior of the child
      as ‘seductive’. However, our study indicates that this behavior is instead the
      child’s often desperate attempt to meet her needs for care and attention . . .
      The child’s behavior may often appear sexualized to an adult . . . As a result,
      it is more appropriate to describe this behavior as affection-seeking rather
      than seductive” (Johnston, 1979, pp. 948-949).

           •• “‘Everybody knows’ that adults must protect themselves from ground-
              less accusations of seductive or vindictive young people. . . . What
              everybody does not know, and would not want to know, is that the vast
              majority of investigated accusations prove valid and that most of the
              young people were less than eight years old at the time of initiation”
              (Summit, 1983, p. 178).

      Conclusion
      Since its introduction to the peer-reviewed professional literature in 1984,
      the term “grooming” has become so widely adopted that it will remain in
      widespread use for decades to come. We can and should clarify the meaning
      of the term wherever possible to avoid misuse or misleading of our audi-
      ences. We could benefit from prospective studies of the frequency of groom-
      ing-like behaviors among adults in target-rich environments such as schools,
      youth sports, and youth groups, which could help distinguish behaviors por-
      tending risk from those that do not, though it would require a large sample
      and a long time to reveal at least some of the offenders in the sample.
         The two archaic uses of the term “seduction” in the context of child sexual
      abuse identified here are too recent and too widely known to justify completely
      abandoning the term “grooming” in favor of “seduction,” even if it were possible
      to do so. Perhaps the best strategy is that adopted by Lanning (2018) of explain-
      ing the parallel between the courtship and mating rituals that adults use with one
      another and the courtship and mating rituals that some use with children.

      Declaration of Conflicting Interests
      The author(s) declared no potential conflicts of interest with respect to the research,
      authorship, and/or publication of this article.
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       Note
       1.   The data on which Figure 1 is based are derived from year-by-year searches
            of Google Scholar for the combination of the terms “child sexual abuse” and
            “grooming,” excluding citations and patents. One should not assume that the
            underlying database is complete or that all the publications included in the count
            use “grooming” in this way or represent peer-reviewed literature, as newsletters,
            government reports, books, and other documents also make their way into such
            searches. Nonetheless, the graph gives an adequate representation of the growing
            use of the term “grooming” for this purpose.

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